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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA

v.                                             Case Number: 4:23−cr−00218

Hardik Jayantilal Patel
Dhirenkumar Vishnubhai Patel




                               NOTICE OF SETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN SET FOR
THE PLACE, DATE AND TIME SET FORTH BELOW.


Before the Honorable
Andrew S Hanen
PLACE:
Courtroom 9D
United States District Court
515 Rusk Ave
Houston, TX
DATE: 11/14/2023

TIME: 11:00 AM
TYPE OF PROCEEDING: Motion Hearing


NOTE: ALL COUNSEL OF RECORD RECEIVING THIS NOTICE ARE
ORDERED TO NOTIFY ALL OTHER COUNSEL IN THIS CASE OF THE
CONTENTS OF THIS NOTICE.

Date: November 8, 2023
                                                           Nathan Ochsner, Clerk
